Case 2:01-cv-02028-BBD-dkv Document 180 Filed 08/23/05 Page 1 of 2 Page|D 190
IN THE UNITED sTATES DISTRICT CoURT
FoR THE wEsTERN DISTRICT 0F TENNESSEE F“-ED BY -~ D-C-
wEsTERN DIVIsIoN
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FRANCIP§E lHUMES, et al. i MM§S§§T;WDM
Plamtlf`fs, ) W!D OF iii `”-.li§?rll°l’il$
v. § No. 01-2028 DA
A.C. GILLESS, et al., §
Defendants. §
ORDER TO SHOW CAUSE

 

On May 31, 2005, Defendant Han'y C. Scott filed a motion for summary judgment On June
2, 2005, the motion was modified and entered. Plaintiffs to date have not responded to Defendant’s
motion. Accordingly, Plaintiffs are hereby ordered to file a written response within twenty days of this
order. Thereafter, Plaintiffs will be deemed to have waived their right to respond and the motion will

be decided on the existing record.

IT IS SO ORDERED this 425 day of August, 2005.

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DI'TR'IC COURT - WESTENR DISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 180 in
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Honorable Bernice Donald
US DISTRICT COURT

